Cas¢

No!

1:08-cv-O1DUS WFETDSCuthNIZT E cic OKEOS WySlacira@ioueiT

NESTERN DrsTereT OF ARKANSAS
EIDoR ADO Drvrsred WESTERNDRIET cour

_— FILED SAS
Tommy KadFord Plain FPOCT 1 3 ayy
NS, CHRIs SR, JOHNSON, ¢
Ail No. OB av- ISSR my Dewyceg
OnpT. D. NoRwood Defendants

i Moteon Foe EXTenSron oF Teme"

Comes Now PRo Se, PlaintTirr |
“Tommy Radford in Gis Acton foc
MosTion Fo@t ExTenSion of VME

Por Blarled PReASonS *

 

 

 

PlankFE “Tommy Radford 13 Present.
ly QonPRined Ae MAE Mom Seaocity
WNike A+ 25e1 State Facm Road

in lueker AR. TW2Ie&

[Plaster Filed A MSTien on,

OR About OaAnuacy 2ZOON Ravi ging
THe CGouret that Ne Wad TeanS-
Lecce do Fro® ADe CrRimes UNL
Roo Col(ceetion Dive Nedpoct.
AQ. T22 To, ADe NARHeL
Unit Po. Boy + “woo Oak andy AR.
Tle del AWS Cla were HaS Not-
been (ecerinip ANY ol Wis
Legal MAL, SIN Ce IAW FE
had SAQA an! been VWRANS Ferre d
as M&S.u. 2591 State Facm Red
Weller AL. TAIL

| Plaitee “Tommy Radrd wad

 

| TRANS Ferre d From 3 N, SAK TUN 4

yf i. ™~—_ ate ee ee ae | ISO iL. &
Case 1:08-cv-01008-HFB Document 78 Filed 10/13/09 Page 2 of 3 PagelD #: 302

To. M.S. 2501 Stk Farm Pa
—Tacller AR. TAIL ON ee Absob
DaAnuary lw, 2O9Q Ana AL oF

Mo8$t+ of PlAKI TE Leal Mail
WAS Not been Fotoara ts Him
IN (& +imely MAaNNer iP at All.

OlainiFE Neve eNenwt Ceceivead
DeFendANLS' Motion “Te Com e\

Ton of fibsut Meek De Das

}Noc DiSXCove ly Reque8ts SM May

JOU 2s0%,

PlawkhFeE WaS Nok RePssed Te
ANSusec Neither MotHoXdS that
LIAS AlleQedly Maile 4 Te plain =
HEE on MaAech De 109% wy
MAy V8, 2098, beeasde PLAIMFE
Nad been TRANS Fer((ed “TS
M,S3.uU VSa\ Skate Farm Road
Taeker AR. W2AIGR Enery Sinee
I Sanuncy 6, 20d% .

PlaiwhFe Stoo gly (equeSt that
THe Cough An DMeFendantS!
Coun8el fefleek +o The GQouel
CeaSe) Doetel Sheet ANd it
Will Weeify Ard Confirm that
INAH NAS Filed Sevecal
Notice OF ChaNXe OF GddcteS8e8
Ana GQANNs) (eSepota fo DiS-
Qovecy ReqoeSts | No ANY Hee

VF He Never Received Sack

 

|DiScsvery RequcSt8 .
Case J

:08-cv-01008-HFB Document? Filed 10/13/09 Page 3 of 3 PagelD #: 303

| PlainhFF  aanust be Keld Re-
SanSible Poe leant Doaesmen+

Reo ve StS +a We NeNec {ecei¥ =
ed, Nor be SAnetianed Por
Pavluce +2 prasecuke,

[PlainkFeE Request -thak Another

Cepy of Di Seovery RequestS8 be
Mailed “To Him @&4 hi (ce Qenl
Addce Ss Ab —? MSU. 3 |
State Facm Ra Fi clcec AL. T216%
Arid he be Allowed hime +o |
ANSider Reo vat 8 Lit. fin EX-
+enSiom OF “Time, |
See Doetet Sheet Whecee Pl Aves ~
AEE Re Guest Notice oF Kddce? §

 

TOhANQe ANd Poth MARK of The

Kddce S “DeFendanr +8 Maile 3d Did -
Covecy AMSS too |

: Plaahre D(AyS Thad Motion
For ExvtenQSion of Time he
CaRauted IN the CH Cen |

CeclFote of SeRvice

az hereby eer tity that Ont +4hig

September 29+. JooQ dale

thnk Fare xsing Wes Senk by us

PoStal Setliee oe WHe UYV.De

ree El vo(adoa AR. S117Q0 Tomi Ras Fi d
te XY 22

 

¥AHo Files. MS. 9891 Ste Ge
